             Case 2:11-cr-00210-DAD Document 152 Filed 11/28/11 Page 1 of 2


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 5   Attorney for LEAH ISOM,
     Defendant
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   No. CR.S-11-210-JAM
                                                  )
12                        Plaintiff,              )   WAIVER OF PERSONAL APPEARANCE
                                                  )   (Amended)
13          v.                                    )
                                                  )
14   LEAH ISOM,                                   )
                                                  )
15                        Defendant.              )
                                                  )
16                                                )
17
18
            The defendant hereby waives the right to be present in person in open court upon the
19
     hearing of any motion or other proceeding in this case, including, but not limited to, when the
20
     case is ordered set for trial, when a continuance is ordered, and when any other action is taken
21
     by the court before or after trial, except upon arraignment, plea, every trial stage including
22
     impanelment of jury and verdict, and imposition of sentence. The defendant hereby requests
23
     the court to proceed during every absence of hers which the court may permit pursuant to this
24
     waiver, agrees that her interests will be deemed represented at all times by the presence of her
25
     attorney the same as if she were personally present, and further agrees to be present in court
26
     and ready for trial any day and hour the court may fix in her absence.
27
                                                      ///
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             Case 2:11-cr-00210-DAD Document 152 Filed 11/28/11 Page 2 of 2


 1                                                  ///
 2         The defendant acknowledges that she has been informed of her rights under Title 18
 3   U.S.C. Sections 3161-3174 (Speedy Trial Act), and authorizes her attorney to set times and
 4   delays under that act without her being present.
 5
 6   Dated: November 18, 2011                                /s/ Leah Isom
                                                          LEAH ISOM, Defendant
 7
 8
 9   I agree with and consent to my client’s waiver of appearance.
10
11   Dated: November 23, 2011                                 /s/ Candace A. Fry
                                                          CANDACE A. FRY, Attorney for
12                                                        LEAH ISOM, Defendant
13
14                                              ORDER
15         It is so ordered.
16
17                Dated: 11/28/2011
18
19                                     /s/ John A. Mendez
                                       JOHN A. MENDEZ
20                                     UNITED STATES DISTRICT JUDGE
21
22
23
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